{me) Case 2:02-cr-20433-BBHNM@FRW§DFiled 08/10/05 Page 1 of 4 Page|D 243

 

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for
wEsTERN msch or TMSSEE mm By ““@é“ °’Q
U.S.A. vs. Melissa Hall Docket No. 250¥§1?!2%4§§-|94 n
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TIFK)MAS ,.t.
Petition on Probation and Supervised Releasg-B§?KD%§FSTI:(%:C:§UHT
t .r J.-;,_Et.-f" 4
COMES NOW likiqu E. Shaw PROBATION OFFICER OF THE COURT presenting an official report

upon the conduct and attitude ofMeliB Ml, who was placed on supervision by the Honorable Bernice B. Donal¢
sitting in the court at Memphis, TN on thel§$ day of Sgptember 2003 who fixed the period of supervision at
two 121 years and imposed the general terms and conditions theretofore adopted by the Court and also imposed
Special Conditions and terms as follows:

The defendant shall participate in the Home Detention program for four (4) months. (Completed.)
The defendant shall provide the Probation Oflicer any requested financial information

The defendant shall seek and maintain full-time lawful employment

The defendant shall make third-party risk notification

The defendant shall pay $952.40 in restitution in $25.00 monthly installments (balance: $858.40).
The defendant shall participate in drug testing and treatment (added on January 23, 2004).

?`.V‘:°*P°!\’l"

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

' The defendant shall refrain from any unlawful use of a controlled substance and the defendant shall not
possess a controlled substance

Ms. Hall has violated this condition by possessing and using a controlled substance Marijuana was detected from
drug tests of samples collected on February 23, 2004; May 12, 2005; and June 27, 2005.

The defendant shall pay $952.40 in restitution in $25.00 monthly installments.

Ms. Hall has not paid as ordered.

PRAYING THAT THE COURT WILL ORDER that a Summons be issued for Ms. Hall to appear before Your
Honor to answer charges of violation of Probation.

I declare under penalty of perjury that the
foregoing is true and correct.

 

    

 

C nsidered and ordered this q#\day of

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1- Defendant`MM_(AddwsS-=MMMUB TN38116)

 

 

 

 

 

2. Docket Number (Year-Sequence-Defendant No.) 2:02CR20433-04
3. Dislrict/Offlce Western District of Tenne§see (Memphis)
4. Original Sentence Date 09 25 2003
month day year
(Ifdr;gf`@rent than above):

5. Original District/Office

 

6. On'ginal Docket Number (¥ear-Sequence-Defendant No.)

 

7. List each violation and determine the applicable grade {B §7B l.l }:

 

 

 

 

 

Violation{s} Grade
Possessionste of a controlled substance (Coca`me)
Failure to pay restitution as ordered
8. Most Serious Grade of Violation (B §7Bl.l(b) C
9. Criminal I-Iistory Category (B §7Bl.4(a))74 ll
10. Range of imprisonment (_s_qc_: §7B1.4(a)] 4 - 10 months*

*Being originally convicted of a Class B felony, the statutory maximum term of imprisonment is 36 months; 18 U.S.C. §3583(¢)(3).

ll. Sentencing Options for Grade B and C violations Only (Cheek the appropriate box):

{X} (a)If the minimum term of imprisonment determined under §7B1.4(Term of lmplisonment) is at least one month
but not more than six months, §7Bl.3(c) (l) provides sentencing options to imprisonment

{ } (b)If the minimum term of imprisonment determined under §7Bl.4(Tenn of Imprisonment) is more than six
months but not more than ten months, §7B1.3(c) (2) provides sentencing options to imprisonment

{ } (c)If the minimum term of imprisonment determined under §7B1.4(Tenn of Imprisooment) is more than ten
months, no sentencing options to imprisonment are available.

Mail documents to: United States sentencing Commission, 1331 Penasylvania Avenue, N.W.
Suite 1400, Washington, D.C., 20004, Attention: Monitoring Ulit

 

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12. Unsatisfied Conditions of Original Sentence

List any restitution, line, community confinement home detention, or intermittent confinement previously imposed in connection with the
sentence for which revocation is ordered that remains unpaid or unserved at the time of revocation {iee; §7Bl.3(d)}:

 

 

 

 

Restitution ($) _ §858.40 Community Continement N/A
Fine ($) N/A Home Detention N/A
Other N/A lntermittent Confinement N/A

 

 

13. Supervised Release

If probation is to be revoked, determine the length, if any, of the term of supervised release according to the provisions of § §SDl .l - l .3 {§_e§_

§§7Bl.3(g)(1)}.
Term: N/A to N/A years

If supervised release is revoked and the term of imprisonment imposed is less than the maximum term of imprisonment impossible upon
revocation, the defendant may, to the extent permitted by law, be ordered to recommence supervised release upon release from
imprisonment {Le_ 18 U.S.C. §3583(e) and §7Bl.3(g)(2)}.

Period of supervised release to be served following release from imprisonment If imp_oLd_, 2-3 years

14. Departure

List aggravating and mitigating factors that may warrant a sentence outside the applicable range of imprisonment

 

 

 

 

 

 

 

15. Official Detention Adjustment w §7Bl.3(c)}: months days

Mail documents to: Unitcd Statel Sentencing Commission, 1331 Pennsylvania Avenue, N.W.
Suite 1400, Washllgton, D.C., 20004, Attention: Monitoring Unit

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 212 in
case 2:02-CR-20433 Was distributed by fax, mail, or direct printing on
August 12, 2005 to the parties listed.

 

 

Tracy Lyrm Berry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bemice Donald
US DISTRICT COURT

